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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                    Plaintiff,

      v.
                                                No. 03-20149-06 KHV

JERMAINE AKINS,
    a.k.a. Sherm,

                    Defendant.


                                       ORDER

      This matter comes before the Court on the motion of the United States to dismiss the

charges in the indictment (Doc. #236) as to the above-named defendant, without prejudice,

and the Court, for good cause shown, finds that the motion should be sustained.

      IT IS THEREFORE ORDERED that the charges in the indictment against the above-

named defendant described herein is dismissed as to the above-named defendant, without

prejudice.

      IT IS SO ORDERED.

      Dated this 31st day of May, 2005.

                                          s/ Kathryn H. Vratil
                                          HONORABLE KATHRYN H. VRATIL
                                          UNITED STATES DISTRICT COURT JUDGE
                                          District of Kansas




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